           Case 1:18-cr-00678-JPO Document 104-2 Filed 09/25/20 Page 1 of 3
  NERBD         *              PUBLIC INFORMATION             *     09-14-2020
PAGE 001        *                  INMATE DATA                *     08:32:42
                                AS OF 09-14-2020

REGNO..: 86884-054 NAME: BOKOV, JEVGENI

                    RESP OF: BRO
                    PHONE..: 718-840-4200    FAX: 718-840-5005
                                             RACE/SEX...: WHITE / MALE
                                             AGE: 46
PROJ REL MT: GOOD CONDUCT TIME RELEASE       PAR ELIG DT: N/A
PROJ REL DT: 09-10-2021                      PAR HEAR DT:




G0002       MORE PAGES TO FOLLOW . . .
           Case 1:18-cr-00678-JPO Document 104-2 Filed 09/25/20 Page 2 of 3
  NERBD           *              PUBLIC INFORMATION                *     09-14-2020
PAGE 002          *                  INMATE DATA                   *     08:32:42
                                  AS OF 09-14-2020

REGNO..: 86884-054 NAME: BOKOV, JEVGENI

                   RESP OF: BRO
                   PHONE..: 718-840-4200    FAX: 718-840-5005
HOME DETENTION ELIGIBILITY DATE: 06-03-2021

THE FOLLOWING SENTENCE DATA IS FOR THE INMATE'S CURRENT COMMITMENT.
THE INMATE IS PROJECTED FOR RELEASE: 09-10-2021 VIA GCT REL

----------------------CURRENT JUDGMENT/WARRANT NO: 010 ------------------------

COURT OF JURISDICTION...........:     NEW YORK, SOUTHERN DISTRICT
DOCKET NUMBER...................:     18 CR. 678-01 (JPO)
JUDGE...........................:     OETKEN
DATE SENTENCED/PROBATION IMPOSED:     07-09-2020
HOW COMMITTED...................:     US DISTRICT COURT COMMITMENT
PROBATION IMPOSED...............:     NO

                   FELONY ASSESS    MISDMNR ASSESS FINES             COSTS
NON-COMMITTED.:    $200.00          $00.00         $00.00           $00.00

RESTITUTION...:    PROPERTY:   NO   SERVICES:   NO       AMOUNT:    $00.00

-------------------------CURRENT OBLIGATION NO: 010 ---------------------------
OFFENSE CODE....: 548      18:1956 RACKETEERING
OFF/CHG: 18:1956(A)(2): MONEY LAUNDERING (CT.4 & CT.5)

 SENTENCE PROCEDURE.............: 3559 PLRA SENTENCE
 SENTENCE IMPOSED/TIME TO SERVE.:    33 MONTHS
 DATE OF OFFENSE................: 01-31-2018




G0002       MORE PAGES TO FOLLOW . . .
           Case 1:18-cr-00678-JPO Document 104-2 Filed 09/25/20 Page 3 of 3
  NERBD         *             PUBLIC INFORMATION                *     09-14-2020
PAGE 003 OF 003 *                 INMATE DATA                   *     08:32:42
                               AS OF 09-14-2020

REGNO..: 86884-054 NAME: BOKOV, JEVGENI

                   RESP OF: BRO
                   PHONE..: 718-840-4200    FAX: 718-840-5005
-------------------------CURRENT COMPUTATION NO: 010 --------------------------

COMPUTATION 010 WAS LAST UPDATED ON 08-06-2020 AT DSC AUTOMATICALLY
COMPUTATION CERTIFIED ON 08-14-2020 BY DESIG/SENTENCE COMPUTATION CTR

THE FOLLOWING JUDGMENTS, WARRANTS AND OBLIGATIONS ARE INCLUDED IN
CURRENT COMPUTATION 010: 010 010

DATE COMPUTATION BEGAN..........: 07-09-2020
TOTAL TERM IN EFFECT............:    33 MONTHS
TOTAL TERM IN EFFECT CONVERTED..:     2 YEARS       9 MONTHS
EARLIEST DATE OF OFFENSE........: 01-31-2018

JAIL CREDIT.....................:     FROM DATE    THRU DATE
                                      05-09-2019   07-08-2020

TOTAL PRIOR CREDIT TIME.........:   427
TOTAL INOPERATIVE TIME..........:   0
TOTAL GCT EARNED AND PROJECTED..:   148
TOTAL GCT EARNED................:   54
STATUTORY RELEASE DATE PROJECTED:   09-10-2021
ELDERLY OFFENDER TWO THIRDS DATE:   03-08-2021
EXPIRATION FULL TERM DATE.......:   02-05-2022
TIME SERVED.....................:        1 YEARS    4 MONTHS        6 DAYS
PERCENTAGE OF FULL TERM SERVED..:     49.3
PERCENT OF STATUTORY TERM SERVED:     57.8

PROJECTED SATISFACTION DATE.....: 09-10-2021
PROJECTED SATISFACTION METHOD...: GCT REL




S0055       NO PRIOR SENTENCE DATA EXISTS FOR THIS INMATE
